
USCA1 Opinion

	










          October 10, 1995      [NOT FOR PUBLICATION]


                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                             
                        
                                 ____________________


        No. 95-1488 

                                  ROBERT NICKERSON,

                                Plaintiff, Appellant,,

                                          v.

                                LARRY DUBOIS, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS



                                 ____________________

                                        Before

                                Selya, Stahl and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Peter Costanza,  Massachusetts Correctional  Legal Services, Inc.,
            ______________
        on brief for appellant.
            Nancy Ankers-White, Special  Assistant Attorney General, and Carol
            __________________                                           _____
        Colby, Counsel, Department of Correction, on brief for appellees.
        _____


                                 ____________________


                                 ____________________























                      Per Curiam.    We have reviewed the parties' briefs
                      __________

            and the  record on  appeal.   We affirm  the judgment  of the

            district  court essentially  for  the reasons  stated in  its

            memorandum  and  order dated  March  21, 1995.    Two points,

            however, call for additional comment.

                      First,  the plaintiff  offers  no  support for  his

            argument that the defendants  should have considered his four

            separate requests for  free postage as a  single bulk request

            for purposes of determining whether he was indigent.  103 CMR

              481.06 makes it  clear that indigence is determined  at the

            time of the particular request.  The  plaintiff has submitted

            no evidence suggesting  that he  was indigent on  any of  the

            four days in question.

                      Second,  we  reject,  for  failure  of  proof,  the

            plaintiff's  challenge   to  the  constitutionality   of  the

            indigence threshold set by the inmate mail regulations.   The

            plaintiff argues that the district court should have inquired

            into the "cost of living" in his prison facility and the need

            to  adjust  the  indigence  formula  for  inflation.    These

            omissions (if omissions at all)  are gaps in the  plaintiff's

            own case.  The record shows that the plaintiff spent the bulk

            of  his discretionary  income on  tobacco, snacks,  and soda,

            leaving approximately  20% for stamps  and writing  supplies.


















            We cannot say  on this  record that  the indigence  threshold

            undercuts the plaintiff's right of access to the courts.

                      The judgment of the district court is affirmed.
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